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Prob 12 (Rev. 11/1/2004)

                           United States District Court
                                             for the
                                 DISTRICT OF MINNESOTA
                              United States v. Tathony M. Brown
                           Docket No. 0864 0:19CR00247-001(PAM)
                           Amended Petition on Supervised Release

        COMES NOW Reginale B. Hall, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct and attitude of Tathony M. Brown who was
sentenced in the Eastern District of Missouri for Felon in Possession of a Firearm on May 4, 2017,
by the Honorable Ronnie L. White, who fixed the period of supervision at 2 years supervised
release, and imposed the general terms and conditions theretofore adopted by the Court and also
imposed special conditions and terms as follows:

Updated information will appear in bold

     •    Participate in substance abuse programming
     •    Participate in mental health treatment program
     •    Participate in educational programming
     •    Submit to search
     •    No Adverse Action-Marijuana use (Modified October 8, 2019)
     •    Residential Reentry Center (Pretrial Release condition added December 18, 2019)
     •    Location Monitoring (Pretrial Release condition modified January 7, 2020)

On October 22, 2019, Jurisdiction was transferred from the Eastern District of Missouri to the
District of Minnesota and assigned to Your Honor.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

         MANDATORY CONDITION: The defendant shall not commit another federal,
         state, or local crime.

On November 19, 2019, the defendant was charged in Hennepin County District Court,
Minneapolis, Minnesota, with Theft-Take/Drive Motor Vehicle-No Owner Consent
(Felony), Possession of Burglary or Theft Tools (Felony), and Fleeing a Peace Officer in a
Motor Vehicle (Felony) (Docket No. 27-CR-19-28619).

         UPDATED INFORMATION:

On May 11, 2020, the defendant pled guilty to Fleeing a Peace Officer in a Motor Vehicle
(Felony). The felony offense of Fleeing a Peace Officer in a Motor Vehicle was reduced to a
gross misdemeanor. The charges of Theft-Take/Drive Motor Vehicle-No Owner Consent
(Felony), and Possession of Burglary or Theft Tools (Felony) were dismissed (Docket No. 27-
CR-19-28619). The defendant 122 days in local custody for this conviction. By way of an
affidavit submitted to the Court by his attorney, the defendant admitted that his conviction
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on the above charge violates his supervised release and all parties involved agree on a
resolution.

PRAYING THAT THE COURT WILL ORDER that the defendant’s supervised release be
revoked, that he be sentenced to a custody term of time served, and placed on supervised release
until the original expiration date of August 1, 2021, under all previously ordered conditions of
supervised release.



         ORDER OF THE COURT                            I declare under penalty of perjury that the
                                                       foregoing is true and correct.
                               18th
Considered and ordered this __________  day
                                                       s/ Reginale B. Hall
      May, 2020
of __________________,    and ordered filed
and made a part of the records in the above
case.                                                  Reginale B. Hall
                                                       Supervising U.S. Probation Officer
  s/ Paul A. Magnuson                                  Telephone: 612-664-5407
Honorable Paul A. Magnuson                             Executed on     May 15, 2020
Senior U.S. District Judge
                                                       Place           Minneapolis

                                                       Approved:

                                                       s/ Darren F. Kerns
                                                       Darren F. Kerns
                                                       Assistant Deputy Chief U.S. Probation
                                                       Officer
